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APPEALING 2076 ELECTION

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TO WHOM IT MAY CONCERN AT THE DEPARTMENT OF LABOR -.

In care of the Secretary of The Department of Labor, Cerron Cade and

The Chief Executive Officer of GT USA, Wilmington, Joe Cruise

On Saturday December 03, 2022, an election was held in the
Longshoremen’s Hall on Claymont Street of the former 1694-1 that was
merged into and became an integral part of 1694, 1883 and 1884 which

was merged with no fault of theirs.

On September 12, 2022, these members were dissolute illegally out of
their three locals that violate the constitution of the ILA and forced into
this new local 2076 which is illegal. Under the NLRB, subsection158, an
employer cannot accept a new local or new union as long as one
already exists. On September 12, 2022, the same day that this illegal
behavior by the ILA took place that violate their own constitution that
unmerge members when the constitution says they can merge and
dissolute locals not members. ILA under the NLRB is different from the
construction company, they are held to a different standard. On
September 12, 2022, we the members appealed this illegal behavior to
the court of Delaware (see case number 1:22-cv-01397-RGA) by Delta
Hill and also a cease and desist motion that is in the court under the
same case number as well. On this note, we are appealing the election
that was held on December 03, 2022. Previously, we sent a cease and
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desist letter to the defendants, William Ashe, Stephen Knott, ILA and
the appointee Brian Witiw and their counsel. It is alleged that at a
special meeting when the members asked Brian Witiw about the
validity of the dissolution and what choice they had in the case, to this
he responded “you have no choice”. That answer was illegal as
everyone has a choice and as the constitution states, in a situation like
this a special meeting should be held and as long as ten persons oppose
the dissolution or merger it cannot take effect which we did and that is
a part of the court filing. So, we are appealing the election and we are
asking the Department of Labor to void this election as it is in the court.
Please see attachments.

Delta Hill

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